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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                LAREDO DIVISION

AHMED M. SALEH                                §
                                              §
             Plaintiff                        §
                                              §
                                              §
VS.                                           §      Civil Action No.
                                              §
WERNER ENTERPRISES, INC AND                   §
RICHARD THOMAS DEVON                          §
HOLLOWAY                                      §
                                              §
             Defendants.                      §
                         PLAINTIFFS ORIGINAL COMPLAINT


TO THE HONORABLE DISTRICT JUDGE OF SAID COURT:

      NOW COMES Plaintiff, Ahmed M. Saleh, and files this his Original Complaint

against Defendants, Werner Enterprises, Inc., and Richard Thomas Devon Holloway. In

support thereof, Plaintiff would respectfully show the Court as follows:

                                          I.
                                       PARTIES

      1. P l a i n t i f f , Ahmed M . Saleh, i s a citizen o f Michigan and resides i n

Dearborn, Michigan.

      2. D e f e n d a n t , Werner Enterprises, Inc. ("Werner"), is a Nebraska corporation

with its principal place of business in Omaha, Nebraska. A s evidenced by the location

of the crash described below, Werner conducts business in Texas, engages in continuous

and systematic contacts with the State of Texas, and derives substantial economic profit

from its business activities in Texas. Werner maintains terminal locations in various

Texas counties, including Dallas County, El Paso County, and Webb County — the
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county where the crash happened. Werner may be served for process by serving its

Texas registered agent John Vidaurri located at 8601 Peterbilt Ave., Dallas, Texas 75241.

        3. Defendant, Richard Thomas Devon Holloway (Defendant “Holloway”), was a

citizen of North Carolina at the time of the subject crash. Defendant Holloway may be

served for process by serving his home address of 187 Earle Franklin Dr., Hamlet, North

Carolina 28345.

                                          II.
                                 VENUE AND JURISDICTION

        5.      This Court has original jurisdiction over this case pursuant to 28 U.S.C. §

1332(a)(1) as the matter in controversy exceeds the sum of $75,000.00 and the case and

controversy is between citizens of different states.

        6.      This Court has personal jurisdiction over Defendants because they do

business in Texas and have sufficient contacts with the State of Texas, both generally

and with regard to this specific action, so that the exercise of personal jurisdiction over

it is proper.      More specifically, the Court has specific personal jurisdiction over

Defendants because Defendants have purposefully directed their activities toward the

State of Texas, have purposefully availed themselves of the privileges and benefits of

conducting business in the State of Texas, and this lawsuit arises foreseeably from those

purposeful activities. Further, Defendants’ contacts with the State of Texas are related to

the claims at issue in this lawsuit. Indeed, Defendants committed a tort, in whole or in

part, in Texas and Plaintiff’s claims in this lawsuit arise directly out of or result from the

Defendants’ activities in the State of Texas.

        7. Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(2) because a

substantial part of the events or omissions giving rise to the claim occurred in this



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judicial district, Specifically, the crash giving rise to this lawsuit occurred in Webb

County Texas.

                                             I v.
                                    BACKGROUNDFACTS

        8. O n August 21, 2017, Plaintiff was driving a white, 2013 Freightliner

Tractor-Trailer ("Plaintiff's Tractor") travelling southbound on the outside lane of

Interstate Highway 35 ("I-35") in Webb County, Texas, At or around the same time,

Defendant Werner, acting through its employee, agent, and/or contractor Defendant

Holloway, pulled his 2016 Freightliner Tractor-Trailer ("Defendants' Tractor") to the

shoulder of 1-35 as he was having mechanical issues. Meanwhile, Plaintiff was traveling

south on 1-35 at a safe distance from a tractor-trailer that was in front of him, with no

sight of Defendant's Tractor.

        9. S h o r t l y thereafter, Defendant Holloway, believing that his mechanical

issue had been corrected, attempted to regain speed on the shoulder to merge back onto

1-35. However, although unable to do so, Defendant Holloway decided to merge back

onto the outside lane of 1-35 at a low rate a speed while it was unsafe and while

oncoming traffic was approaching. When doing so, the tractor-trailer that was

immediately in front of Plaintiff's Tractor, suddenly and without warning swerved into

the inside lane to avoid crashing into Defendants' Tractor. With no time to react and no

ability to change lanes, Plaintiff slammed on his brakes and attempted to avoid crashing

into Defendants' Tractor. Unfortunately, it was too late, and Plaintiff violently crashed

into Defendants' Tractor which had unsafely merged into oncoming traffic. As a result

of the crash, Plaintiff suffered severe and debilitating injuries.

        10. A t all times during the time of the crash, Defendant Holloway was in the

course and scope of his employment with his employer Werner. A s such, Defendant

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Werner is liable for the acts and omissions of Defendant Holloway under the doctrine of

respondeat superior. Alternatively, Defendant Holloway was the statutory employee of

Defendant Werner pursuant to the Federal Motor Carrier Safety Regulations. See 49

C.F.R. § 376.1, et seq.

   CAUSES OF ACTION AGAINST DEFENDANTS WERNER AND HOLLOWAY

                                                 V.
                             NEGLIGENCEAND VICARIOUS LIABILITY

        11. D e f e n d a n t s Werner and Holloway committed actions of omission and

commission, w h i c h collectively a n d severally constituted negligence, a n d t h a t

negligence proximately caused the crash in question and Plaintiff's damages.

        12. D e f e n d a n t s Werner and Holloway owed a duty to Plaintiff to exercise

ordinary care. Defendants Werner and Holloway's acts or omissions of negligence

include, without limitation, one or more of the following:

        (a) O p e r a t i n g a vehicle on a public roadway while failing to keep a proper

                lookout;

        (b) M e r g i n g onto the highway when unsafe;

        (c) F a i l i n g to safely operate the subject tractor-trailer;

        (d) F a i l i n g to yield to oncoming traffic;

        (e) F a i l i n g to pay attention to attendant traffic and driving conditions;

                making an unsafe lane change.

        13. D e f e n d a n t Werner is liable for Defendant Holloway's conduct under the

doctrine o f respondeat superior. Defendant Holloway was employed by Defendant

Werner as its authorized agent, servant, and/or employee on the date in question.

Defendant Werner is vicariously liable for Defendant Holloway's negligence because

Defendant Holloway was acting in furtherance of the business of Defendant Werner at

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the time of the collision and was in the course and scope of his employment or agency

with Defendant Werner at the time of the collision.

        14. A l t e r n a t i v e l y, Defendant Werner is vicariously liable as a matter of law for

the negligence of Defendant Holloway because Defendant Holloway was a statutory

employee o f Defendant Werner pursuant t o the Federal Motor Carrier Safety

Regulations.

                                             DAMAGES

                                                VI.
                                       ACTUAL DAMAGES

        15. A s a result of the subject crash, Plaintiff has suffered in the past, and will

likely suffer i n the future, damages including physical pain and mental anguish,

physical impairment, disfigurement, lost earnings, loss o f earning capacity, and

reasonable and necessary medical expenses. Those damages were proximately caused

by the negligence of the Defendants.

                                                VII.
                         PREJUDGMENTAND POST-JUDGMENT INTEREST

        16. P l a i n t i f f seeks pre-judgment and post-judgment interest at the maximum

legal rate.

                                               VIII.
                                    CONDITIONS PRECEDENT

        17. A l l conditions precedent to Plaintiff's right to recover and Defendants'

liability have been performed or have occurred.

                                                IX.
                                          JURY DEMAND

        18. P l a i n t i f f requests a trial by jury and tender the requisite fee.




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       WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that Defendants be

cited to appear and answer herein, that this cause be set down for trial before a jury,

and that Plaintiff recover judgment of and from Defendants for his actual damages, in

such an amount as the evidence shows and the jury determines to be proper, together

with pre-judgment interest and post-judgment interest, costs of suit, and such other and

further relief to which Plaintiff may show himself to be justly entitled, whether at law or

in equity.

                                         Respectfully Submitted,

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